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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA                 § CRIMINAL NO. 4:15-cr-00015
                                         §
      v.                                 §
                                         §
RICHARD ARTHUR EVANS                     §

     UNITED STATES MEMORANDUM REGARDING FORFEITURE

      At the February 6, 2017 forfeiture hearing, counsel for the United States

indicated that she would submit case law in response to Defendant’s argument that

forfeiture should be limited to payments for people receiving oxycodone

prescriptions. Upon further review, the United States has decided such case law is

not necessary. Rather, the United States has decided to limit the proceeds

calculation to Schedule II patients who received oxycodone prescriptions in

exchange for such payments. Because the Defendant did not raise this argument

until filing a brief the afternoon before the hearing, the United States has not yet

been able to revise its proceeds analysis to remove payments for non-oxycodone

prescriptions.

      IRS Special Agent Terry McGee has started revising his proceeds analysis.

At this time, he has reviewed the prescriptions for the first 220 out of 936

individuals listed on Forfeiture Exhibit # 2 and determined that only approximately


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thirteen out of those 220 people (about six percent) either did not receive

oxycodone or did not receive oxycodone every time. Therefore, the United States

requests additional time to permit Agent McGee to complete the revision.

                                      Respectfully submitted,

                                      KENNETH MAGIDSON
                                      UNITED STATES ATTORNEY

                                By:   s/ Lori S. Roth
                                      Lori S. Roth
                                      Assistant United States Attorney
                                      United States Attorney’s Office
                                      1000 Louisiana, Suite 2300
                                      Houston, Texas 77002
                                      (713) 567- 9547

                         CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing was served on counsel of record via

the Court’s electronic filing system on February 7, 2017.

                                      s/ Lori S. Roth
                                      Lori S. Roth
                                      Assistant United States Attorney




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